                  Case 21-06416
     Fill in this information               Doc
                              to identify your    1
                                               case:    Filed 05/17/21 Entered 05/17/21 16:47:32                              Desc Main
                                                          Document     Page 1 of 33
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Illinois     (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Morris  Mailing, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1098 Brown St.                                           _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Wauconda                      IL    60084
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Lake County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Morris Mailing, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            323100
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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              Morris Mailing, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Morris Mailing, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/17/2021
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Michael Morris
                                               _____________________________________________               Michael Morris
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      President
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ John Hiltz
                                               _____________________________________________              Date         05/17/2021
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                John Hiltz
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Hiltz Zanzig & Heiligman LLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                53 West Jackson Blvd. 1301
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Chicago
                                               ____________________________________________________             IL            60604
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                312-566-9008
                                               ____________________________________                              jhiltz@hzhlaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                IL No. 6289744                                                  IL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




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Bluevine Capital Inc.                                 Matthew Morris
401 Warren St                                         8920 Hidden Trail
Ste 300                                               Spring Grove, IL 60081
Redwood City, CA 94063
                                                      Mcmaster Carr
Byline Bank                                           P.O. Box 7690
180 North LaSalle Street                              Chicago, IL 60680-7690
Chicago, IL 60601
                                                      Michael W. Debre
Chase Card Services                                   Chuhak & Tecson, P.C.
PO BOX 15153                                          30 S. Wacker Drive, Ste. 2600
Wilmington, DE 19889-5153                             Chicago, IL 60606

Chicago Glue & Machine                                Mildred Solis
750 N. Baker Drive                                    515 Lakedale Row
Itasca, IL 60143                                      Wauconda, IL 60084

Com Ed                                                Mona Engelking & Scott Engelking
PO Box 6111                                           315 Dunbar Road
Carol Stream, IL 60197-6111                           Wauconda, IL 60084

Delta Dental                                          PAY PAL
PO Box 804067                                         2211 North First Street
Chicago, IL 60680                                     San Jose, CA 95131

Discover Card                                         Quill
P.O. Box 6103                                         P.O. Box 37600
Carol Stream, IL 60197                                Philadelphia, PA 19101-0600

Elizabeth & Michael Morris                            Scott & Monfeli CPAs
28200 W. Main St.                                     19 Spring St
Wauconda, IL 60084                                    Cary, IL 60013

Employers Preferred Insurance Co                      Small Business Administration
PO Box 53089                                          Office of General Counsel
Phoenix, AZ 85072-3089                                409 3rd Street SW
                                                      Washington, DC 20416
Gordon Rodgers
7491 Midfield Court                                   Stolp-Gore Co.
Las Vegas, NV 89120                                   10101 So. Bode St
                                                      Plainfield, IL 60585
Groot, Inc.
PO Box 535233                                         Uline
Pittsburg, PA 15253-5233                              PO Box 88741
                                                      Chicago, IL 60680-1741
Kingsford Fastener, Inc.
25604 N. Gilmer Rd                                    United Healthcare
Mundelein, IL 60060                                   PO Box 94017
                                                      Palatine, IL 60094-4017
Lillian Morris
335 Dunbar Road                                       Utica Insurance
Wauconda, IL 60084                                    P.O. Box 6532
                                                      Utica, NY 13504-6532
Marilyn Thornton
335 Dunbar Road                                       Videojet Technologies
Wauconda, IL 60084                                    12113 Collection Center Dr
                                                      Chicago, IL 60693
Mark Morris
9928 Hunter Lane                                      Zygmunt Venture, Inc.
Spring Grove, IL 60081                                900 Diehl Rd
                                                      Naperville, IL 60563
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                                United States Bankruptcy Court
                                Northern District of Illinois




         Morris Mailing, Inc.
In re:                                                            Case No.

                                                                  Chapter    11
                       Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               05/17/2021                            /s/ Michael Morris
Date:
                                                    Signature of Individual signing on behalf of debtor

                                                     President
                                                    Position or relationship to debtor
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     DOCUMENTS REQUIRED BY 11 U.S.C. § 1116
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2:28 PM                                         MORRIS MAILING, INC
05/12/21                                            Balance Sheet
Accrual Basis                                        As of May 12, 2021

                                                                          May 12, 21
                 ASSETS
                   Current Assets
                     Checking/Savings
                        10000 · BANK
                           10100 · Wauconda Community                            1,062.22
                           10200 · FIFTH THIRD                                     105.59
                           10300 · CENTRUST BANK                                    30.00
                           10000 · BANK - Other                                    135.20

                         Total 10000 · BANK                                                1,333.01

                      Total Checking/Savings                                               1,333.01

                      Accounts Receivable
                        12000 · Accounts Receivable                                     125,414.31

                      Total Accounts Receivable                                         125,414.31

                      Other Current Assets
                        A/R other                                                        35,524.62
                        EMPLOYEE ADVANCE                                                   -971.35
                        INVENTORY                                                        93,320.26
                        13000 · LOANS TO
                           13003 · N/R CLOVER INVESTMENTS                      594,328.81
                           13004 · TRICIA KOCZERSUT                              3,600.00

                         Total 13000 · LOANS TO                                         597,928.81

                         13004-A · LOAN TO CARY PROPERTY                                402,434.28
                         13006 · MORTGAGE ESCROW                                          8,891.29

                      Total Other Current Assets                                       1,137,127.91

                   Total Current Assets                                                1,263,875.23

                   Fixed Assets
                      BUILDING                                                      1,000,000.00
                      LAND                                                             50,000.00
                      15100 · Accumulated Depreciation                             -2,354,043.95
                      15200 · Machinery and Equipment                               1,902,279.38
                      15300 · Office Equipment                                        154,642.99
                      15400 · VEHICLES                                                 26,530.07
                      15500 · Vehicle                                                 202,062.80
                      15600 · AMORITIZED BANK FEES                                    164,613.17

                   Total Fixed Assets                                                  1,146,084.46

                 TOTAL ASSETS                                                          2,409,959.69

                 LIABILITIES & EQUITY
                    Liabilities
                       Current Liabilities
                          Accounts Payable
                              20000 · Accounts Payable                                   97,888.50

                         Total Accounts Payable                                          97,888.50

                         Other Current Liabilities
                           BLUE VINE                                                     52,271.18
                           ZYGMUNT                                                      175,252.63
                           21105 · NOTES PAYABLE MORRIS PIZZA                           229,303.07
                           22000 · PAYROLL
                              22100 · Federal Unemployment Comp                    857.74
                              22200 · FICA & Federal Withholding               288,678.11
                              22300 · IL Withholding Tax                          -374.79
                              22400 · Payroll Liabilities                      150,146.68




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2:28 PM                                        MORRIS MAILING, INC
05/12/21                                            Balance Sheet
Accrual Basis                                        As of May 12, 2021

                                                                           May 12, 21
                              22500 · Payroll Taxes Payable
                                FICA, FUTA, SUTA, Payable                   6,409.90
                                22500 · Payroll Taxes Payable - Other     -35,186.11

                              Total 22500 · Payroll Taxes Payable                -28,776.21

                              22000 · PAYROLL - Other                            -54,702.13

                           Total 22000 · PAYROLL                                         355,829.40

                        Total Other Current Liabilities                                  812,656.28

                     Total Current Liabilities                                           910,544.78

                     Long Term Liabilities
                       BYLINE BANK                                                      2,161,118.69
                       EIDL                                                               159,900.00
                       PPP                                                                201,412.50
                       29000 · LONG TERM LIABILITYS
                          29001 · CASH FLOW LOAN                                 28,924.12
                          29003 · JEREMY                                          5,000.00
                          29004 · LIL AA CITI 4939                               17,200.00
                          29006 · LIL DISC 2792                                   2,900.00
                          29008 · LIZ AMERICA EX OPT 11003                        1,835.00
                          29009 · LIZ CHASE 7859                                 10,732.00
                          29010 · LIZ CHASE MARR 7165                             5,594.84
                          29011 · LIZ CHASE SW 6546                              11,490.00
                          29012 · LIZ CITI 2108                                  11,480.00
                          29014 · LIZ BA 34890                                    3,280.00
                          29017A · MIKE CHASE 2528                                7,681.00
                          29018 · LOAN FROM MARILYN #1                          213,001.00
                          29022 · Marilyn AA CITI CARD 8760                       7,038.48
                          29023 · Marilyn Costco 7108                            21,707.00
                          29025 · Marilyn B OF A (DI) 9509                       12,781.22
                          29026 · Marilyn B OF A (WP) 4462                       14,298.24
                          29026A · MARILYN CAP 1 2900                               700.00
                          29027 · Marilyn CHASE 4684                             26,062.10
                          29028 · Marilyn CHASE 5618                             23,194.49
                          29029 · Marilyn DISCOVER 3551                          14,957.96
                          2902A · MARILYN DISCOVER 9800                           3,553.90
                          29030 · Marilyn SEARS 9747                             13,408.32
                          29033 · MARK CHASE 7330                                 6,472.54
                          29035 · MATT DISC 0668                                 16,652.94
                          29040 · MILD FIRST NL 7694                              9,741.64
                          29042 · MILD CASH                                      10,000.00
                          29042 A · MILD CITI 6943                                6,985.60
                          29043 · MILD AMEX 71008                                22,170.32
                          29043A · MILD EBAY 5202                                 9,147.00
                          29044 · MILD B OF A 0437                               11,600.00
                          29045 · MILD B OF AM 5843                               6,641.96
                          29046 · MILD B OF AM 1935                               9,226.12
                          29047 · MILD DISC 1320                                 12,375.04
                          29047A · MILD DISC 5431                                 5,412.79
                          29048 · MILD SEARS 1420                                 7,809.89
                          29048A · MILD CAP 1 4633                                7,577.19
                          29049A · MONA CIT 5705                                 12,145.92
                          29050 · MONA B OF A REWARDS 0181                       14,766.48
                          29051 · MONA DISC 1294                                 20,308.98
                          29051A · MONA CHASE 3468                                4,913.31
                          29052 · MONA CHASE UN 5505                             35,393.65
                          29052A · MONA CHASE 4285                               21,975.25
                          29052B · MONA CHASE 2680                                7,453.48
                          29053 · HELOC 2 PRIN                                  189,925.48




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2:28 PM                                          MORRIS MAILING, INC
05/12/21                                              Balance Sheet
Accrual Basis                                         As of May 12, 2021

                                                                           May 12, 21
                            29054 · N/P MIKE MORRIS                             -90,007.33
                            29054A · GORDON LOAN                                 29,000.00

                         Total 29000 · LONG TERM LIABILITYS                              844,507.92

                      Total Long Term Liabilities                                       3,366,939.11

                   Total Liabilities                                                    4,277,483.89

                   Equity
                     30000 · EQUITY
                        30100 · Capt. Stock                                       1,000.00
                        30200 · Distribution (MIKE)                            -783,027.06
                        30400 · Paid In Capt.                                    55,300.00

                      Total 30000 · EQUITY                                               -726,727.06

                      39000 · Retained Earnings                                     -1,148,969.60
                      Net Income                                                         8,172.46

                   Total Equity                                                     -1,867,524.20

                 TOTAL LIABILITIES & EQUITY                                             2,409,959.69




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2:29 PM                                         MORRIS MAILING, INC
05/12/21                                    Statement of Cash Flows
                                              January 1 through May 12, 2021

                                                                                              Jan 1 - May 12, 21
               OPERATING ACTIVITIES
                 Net Income                                                                             8,172.46
                 Adjustments to reconcile Net Income
                 to net cash provided by operations:
                    12000 · Accounts Receivable                                                       -29,900.21
                    EMPLOYEE ADVANCE                                                                      193.60
                    13000 · LOANS TO:13003 · N/R CLOVER INVESTMENTS                                      -695.00
                    13004-A · LOAN TO CARY PROPERTY                                                    -1,348.82
                    20000 · Accounts Payable                                                           -2,584.70
                    BLUE VINE                                                                         -26,433.94
                    ZYGMUNT                                                                            80,000.00
                    21105 · NOTES PAYABLE MORRIS PIZZA                                                 50,000.00
                    22000 · PAYROLL:22100 · Federal Unemployment Comp                                     736.57
                    22000 · PAYROLL:22200 · FICA & Federal Withholding                                 -1,987.83
                    22000 · PAYROLL:22300 · IL Withholding Tax                                         -3,105.13
                    22000 · PAYROLL:22400 · Payroll Liabilities                                        -1,132.83
                    22000 · PAYROLL:22500 · Payroll Taxes Payable                                     -22,094.38
                    22000 · PAYROLL:22500 · Payroll Taxes Payable:FICA, FUTA, SUTA, Payable             5,533.90

               Net cash provided by Operating Activities                                               55,353.69

               FINANCING ACTIVITIES
                  29000 · LONG TERM LIABILITYS:29001 · CASH FLOW LOAN                                 -28,438.85
                  29000 · LONG TERM LIABILITYS:29004 · LIL AA CITI 4939                                -5,800.00
                  29000 · LONG TERM LIABILITYS:29006 · LIL DISC 2792                                   -1,100.00
                  29000 · LONG TERM LIABILITYS:29008 · LIZ AMERICA EX OPT 11003                          -590.00
                  29000 · LONG TERM LIABILITYS:29009 · LIZ CHASE 7859                                    -710.00
                  29000 · LONG TERM LIABILITYS:29010 · LIZ CHASE MARR 7165                               -380.00
                  29000 · LONG TERM LIABILITYS:29011 · LIZ CHASE SW 6546                                 -590.00
                  29000 · LONG TERM LIABILITYS:29012 · LIZ CITI 2108                                     -670.00
                  29000 · LONG TERM LIABILITYS:29014 · LIZ BA 34890                                      -400.00
                  29000 · LONG TERM LIABILITYS:29018 · LOAN FROM MARILYN #1                            50,501.00
                  29000 · LONG TERM LIABILITYS:29023 · Marilyn Costco 7108                             -1,000.00
                  29000 · LONG TERM LIABILITYS:29025 · Marilyn B OF A (DI) 9509                          -350.00
                  29000 · LONG TERM LIABILITYS:29026 · Marilyn B OF A (WP) 4462                          -400.00
                  29000 · LONG TERM LIABILITYS:29026A · MARILYN CAP 1 2900                             -3,500.00
                  29000 · LONG TERM LIABILITYS:29027 · Marilyn CHASE 4684                              -1,204.64
                  29000 · LONG TERM LIABILITYS:29028 · Marilyn CHASE 5618                              -1,070.00
                  29000 · LONG TERM LIABILITYS:29029 · Marilyn DISCOVER 3551                             -260.35
                  29000 · LONG TERM LIABILITYS:29033 · MARK CHASE 7330                                   -200.00
                  29000 · LONG TERM LIABILITYS:29035 · MATT DISC 0668                                    -500.00
                  29000 · LONG TERM LIABILITYS:29040 · MILD FIRST NL 7694                                -273.00
                  29000 · LONG TERM LIABILITYS:29042 A · MILD CITI 6943                               -10,992.51
                  29000 · LONG TERM LIABILITYS:29043A · MILD EBAY 5202                                   -253.00
                  29000 · LONG TERM LIABILITYS:29044 · MILD B OF A 0437                                   600.00
                  29000 · LONG TERM LIABILITYS:29045 · MILD B OF AM 5843                                 -215.00
                  29000 · LONG TERM LIABILITYS:29046 · MILD B OF AM 1935                                 -225.00
                  29000 · LONG TERM LIABILITYS:29047 · MILD DISC 1320                                  -1,770.00
                  29000 · LONG TERM LIABILITYS:29047A · MILD DISC 5431                                   -800.00
                  29000 · LONG TERM LIABILITYS:29048 · MILD SEARS 1420                                 -1,789.00
                  29000 · LONG TERM LIABILITYS:29048A · MILD CAP 1 4633                                  -200.00
                  29000 · LONG TERM LIABILITYS:29049A · MONA CIT 5705                                    -400.00
                  29000 · LONG TERM LIABILITYS:29050 · MONA B OF A REWARDS 0181                         4,372.35
                  29000 · LONG TERM LIABILITYS:29051 · MONA DISC 1294                                  -1,317.03
                  29000 · LONG TERM LIABILITYS:29051A · MONA CHASE 3468                                -1,037.54
                  29000 · LONG TERM LIABILITYS:29052 · MONA CHASE UN 5505                              -5,247.97
                  29000 · LONG TERM LIABILITYS:29052A · MONA CHASE 4285                                21,975.25
                  29000 · LONG TERM LIABILITYS:29052B · MONA CHASE 2680                                -1,996.00
                  29000 · LONG TERM LIABILITYS:29053 · HELOC 2 PRIN                                    -8,133.06
                  29000 · LONG TERM LIABILITYS:29054A · GORDON LOAN                                    -5,000.00
                  30000 · EQUITY:30200 · Distribution (MIKE)                                           -3,296.80

               Net cash provided by Financing Activities                                              -12,661.15

             Net cash increase for period                                                              42,692.54



                                                                                                                   Page 1
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2:29 PM                                        MORRIS MAILING, INC
05/12/21                                   Statement of Cash Flows
                                            January 1 through May 12, 2021

                                                                                  Jan 1 - May 12, 21
             Cash at beginning of period                                                  -41,359.53

           Cash at end of period                                                            1,333.01




                                                                                                       Page 2
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Form                                             1120-S                             U.S. Income Tax Return for an S Corporation                                                                    OMB No. 1545-0123

                                                                                                a
                                                                                             Do not file this form unless the corporation has filed or
Department of the Treasury
Internal Revenue Service
                                                                                            is attaching Form 2553 to elect to be an S corporation.
                                                                                   a Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                    2020
For calendar year 2020 or tax year beginning                                                                                                     , 2020, ending                                             , 20
A S election effective date                                                              Name                                                                                    D Employer identification number
                               01/01/1993                                             MORRIS MAILING INC                                                                             XX-XXXXXXX
B Business activity code
                                                                              TYPE       Number, street, and room or suite no. If a P.O. box, see instructions.                  E Date incorporated
  number (see instructions)                                                   OR
                                                                              PRINT   1098 BROWN STREET                                                                              01/01/1993
                               323100                                                    City or town, state or province, country, and ZIP or foreign postal code                F Total assets (see instructions)
C Check if Sch. M-3 attached                                                          WAUCONDA IL 60084                                                                          $            2,582,853.
G                                               Is the corporation electing to be an S corporation beginning with this tax year?         Yes    No    If “Yes,” attach Form 2553 if not already filed
H                                               Check if: (1)    Final return (2)    Name change (3)             Address change (4)       Amended return (5)          S election termination or revocation
I                                               Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . a                                                1
J                                               Check if corporation: (1)     Aggregated activities for section 465 at-risk purposes (2)    Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                  1a    Gross receipts or sales     . . . . . . . . . . . . . . . .                      1a      1,660,177.
                                                    b   Returns and allowances . . . . . . . . . . . . . . . .                           1b         113,361.
                                                    c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . .                                                   1c           1,546,816.
Income




                                                  2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . .                                                     2             263,871.
                                                  3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . .                                                  3           1,282,945.
                                                  4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . .                                              4
                                                  5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . .                                               5              28,404.
                                                  6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . a                                                    6           1,311,349.
                                                  7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . . .                                              7              17,538.
Deductions (see instructions for limitations)




                                                  8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . .                                                    8             845,081.
                                                  9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . .                                                           9              31,047.
                                                 10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           10
                                                 11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                11                 24,833.
                                                 12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           12                 78,750.
                                                 13     Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .                                                      13                 64,128.
                                                 14     Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . .                                      14                 60,850.
                                                 15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . .                                                 15
                                                 16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              16
                                                 17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . .                                                   17
                                                 18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . .                                                          18
                                                 19     Other deductions (attach statement) . See    . . Statement
                                                                                                           . . . . . . . . . . . . . . . . .                                             19             176,783.
                                                 20     Total deductions. Add lines 7 through 19        . . . . . . . . . . . . . . . . . a                                              20           1,299,010.
                                                 21     Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . . .                                            21              12,339.
                                                 22a    Excess net passive income or LIFO recapture tax (see instructions) . . .        22a
                                                    b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . .                       22b
                                                    c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . .                                          22c
Tax and Payments




                                                 23a    2020 estimated tax payments and 2019 overpayment credited to 2020            .  23a
                                                    b   Tax deposited with Form 7004 . . . . . . . . . . . . . .                        23b                 0.
                                                    c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . .           23c
                                                    d   Reserved for future use . . . . . . . . . . . . . . . .                         23d
                                                    e   Add lines 23a through 23d . . . . . . . . . . . . . . . . . . . . . . .                                                          23e                         0.
                                                 24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . a                                          24
                                                 25     Amount owed. If line 23e is smaller than the total of lines 22c and 24, enter amount owed . . .                                   25                         0.
                                                 26     Overpayment. If line 23e is larger than the total of lines 22c and 24, enter amount overpaid . . .                                26
                                                 27     Enter amount from line 26: Credited to 2021 estimated tax a                              Refunded a                               27
                                                        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                                                        belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign
                                                                                                                                                                                      May the IRS discuss this return
                                                        F




                                                                                                                                          F




Here                                                                                                                                          PRESIDENT                               with the preparer shown below?
                                                            Signature of officer                                          Date                Title                                   See instructions.    Yes     No
                                                            Print/Type preparer’s name                        Preparer’s signature                                Date           Check      if       PTIN
Paid                                                                                                                                                                             self-employed
         KENNETH J. SCOTT CPA                                                                                                                                     04/28/2021                     P00735476
Preparer
         Firm’s name a KENNETH J. SCOTT CPA LTD                                                                                                                                  Firm’s EIN    XX-XXXXXXX
                                                                                                                                                                                               a
Use Only Firm’s address a 19 SPRING ST CARY IL 60013                                                                                                                                Phone no. (847)516-0878
For Paperwork Reduction Act Notice, see separate instructions.                                                             BAA                                           REV 04/14/21 PRO       Form 1120-S (2020)
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Form 1120-S (2020)                                                                                                                                         Page   2
Schedule B             Other Information (see instructions)
  1       Check accounting method:       a    Cash      b       Accrual                                                                                Yes No
                                         c    Other (specify) a
  2       See the instructions and enter the:
          a Business activity a PRINTING SERVICES                     b Product or service a MAIL LETTER SHOP
  3       At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If “Yes,” attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .
  4       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 (i) Name of Corporation            (ii) Employer            (iii) Country of      (iv) Percentage of      (v) If Percentage in (iv) Is 100%, Enter
                                                    Identification            Incorporation           Stock Owned         the Date (if any) a Qualified Subchapter
                                                   Number (if any)                                                            S Subsidiary Election Was Made




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
          capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
          trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .
                     (i) Name of Entity             (ii) Employer          (iii) Type of Entity         (iv) Country of         (v) Maximum Percentage Owned
                                                    Identification                                       Organization                in Profit, Loss, or Capital
                                                   Number (if any)




  5a      At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                         .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of restricted stock . . . . . . . . . . a
          (ii) Total shares of non-restricted stock . . . . . . . . . a
      b   At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                  .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of stock outstanding at the end of the tax year   . a
          (ii) Total shares of stock outstanding if all instruments were executed a
  6       Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .
  7       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
          Instruments.
  8       If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
          basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
          (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
          gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . a $
  9       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
          in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
 10       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . .
      a   The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
      b   The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990.
 11       Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . .
      a   The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
      b   The corporation’s total assets at the end of the tax year were less than $250,000.
          If “Yes,” the corporation is not required to complete Schedules L and M-1.
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Form 1120-S (2020)                                                                                                                                           Page   3
Schedule B                            Other Information (see instructions) (continued)                                                                     Yes   No
 12                        During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had            the
                           terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . .                           .
                           If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . a $
 13                        During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions   .
 14a                       Did the corporation make any payments in 2020 that would require it to file Form(s) 1099? . . . . . . . . .               .
    b                      If “Yes,” did the corporation file or will it file required Form(s) 1099? . . . . . . . . . . . . . . . .                 .
 15                        Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . .                  .
                           If “Yes,” enter the amount from Form 8996, line 15 . . . . . . . . . . . . . a $
Schedule K                            Shareholders’ Pro Rata Share Items                                                                          Total amount
                               1   Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . .                    .   .     1              12,339.
                               2   Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . .                  .   .     2
                               3a  Other gross rental income (loss) . . . . . . . . . . . .                     3a
                                b  Expenses from other rental activities (attach statement)        . . . .      3b
                                c  Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . .                .   .    3c
                                   Interest income . . . . . . . . . . . . . . . . . . . . . . .                                  .   .                          11.
    Income (Loss)




                               4                                                                                                            4
                               5   Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . .                            .   .    5a
                                               b Qualified dividends . . . . . . . . . . . .                    5b
                               6   Royalties . . . . . . . . . . . . . . . . . . . . . . . . .                                    .   .     6
                               7   Net short-term capital gain (loss) (attach Schedule D (Form 1120-S))       . . . . . .         .   .     7
                               8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . .               .   .    8a
                                 b Collectibles (28%) gain (loss) . . . . . . . . . . . . .                     8b
                                 c Unrecaptured section 1250 gain (attach statement) . . . . . .                8c
                               9   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . .                      .   .      9
                              10   Other income (loss) (see instructions) . . . Type a                                                      10
                              11   Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . .                         .   .     11             29,877.
    Deductions




                              12a Charitable contributions . . . . . . . . . . . . . . . . . . . .                                .   .    12a
                                 b Investment interest expense . . . . . . . . . . . . . . . . . . .                              .   .    12b
                                 c Section 59(e)(2) expenditures . . . . . . Type a                                                        12c
                                 d Other deductions (see instructions) . . . . Type a                                                      12d
                              13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . .                        .   .    13a
                                 b Low-income housing credit (other) . . . . . . . . . . . . . . . . .                            .   .    13b
                                 c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)   .   .    13c
    Credits




                                 d Other rental real estate credits (see instructions) Type a                                              13d
                                 e Other rental credits (see instructions) . . . Type a                                                    13e
                                 f Biofuel producer credit (attach Form 6478)       . . . . . . . . . . . . . .                   .   .    13f
                                 g Other credits (see instructions) . . . . . Type a                                                       13g
                              14a Name of country or U.S. possession a
                                 b Gross income from all sources . . . . . . . . . . . . . . . . . .                              .   .    14b
                                 c Gross income sourced at shareholder level . . . . . . . . . . . . . .                          .   .    14c
                                   Foreign gross income sourced at corporate level
                                 d Reserved for future use . . . . . . . . . . . . . . . . . . . . .                              .   .    14d
                                 e Foreign branch category . . . . . . . . . . . . . . . . . . . .                                .   .    14e
                                 f Passive category       . . . . . . . . . . . . . . . . . . . . . .                             .   .    14f
                                 g General category       . . . . . . . . . . . . . . . . . . . . . .                             .   .    14g
    Foreign Transactions




                                 h Other (attach statement) . . . . . . . . . . . . . . . . . . . .                               .   .    14h
                                   Deductions allocated and apportioned at shareholder level
                                 i Interest expense . . . . . . . . . . . . . . . . . . . . . . .                                 .   .    14i
                                 j Other . . . . . . . . . . . . . . . . . . . . . . . . . .                                      .   .    14j
                                   Deductions allocated and apportioned at corporate level to foreign source income
                                 k Reserved for future use . . . . . . . . . . . . . . . . . . . . .                              .   .    14k
                                 l Foreign branch category . . . . . . . . . . . . . . . . . . . .                                .   .     14l
                                 m Passive category       . . . . . . . . . . . . . . . . . . . . . .                             .   .    14m
                                 n General category       . . . . . . . . . . . . . . . . . . . . . .                             .   .    14n
                                 o Other (attach statement) . . . . . . . . . . . . . . . . . . . .                               .   .    14o
                                   Other information
                                 p Total foreign taxes (check one):        Paid        Accrued . . . . . . . . . .                .   a    14p
                                 q Reduction in taxes available for credit (attach statement) . . . . . . . . . .                 .   .    14q
                                 r Other foreign tax information (attach statement)
                                                                                     REV 04/14/21 PRO                                             Form 1120-S (2020)
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Form 1120-S (2020)                                                                                                                                                          Page   4
Schedule K                             Shareholders’ Pro Rata Share Items (continued)                                                                          Total amount
                              15a    Post-1986 depreciation adjustment . . . . . . . . . . . . . . . .                           .   .    .      15a                 -12,564.
 Minimum Tax
 (AMT) Items

                                b    Adjusted gain or loss . . . . . . . . . . . . . . . . . . . .                               .   .    .      15b
  Alternative




                                c    Depletion (other than oil and gas)    . . . . . . . . . . . . . . . .                       .   .    .      15c
                                d    Oil, gas, and geothermal properties—gross income . . . . . . . . . . .                      .   .    .      15d
                                e    Oil, gas, and geothermal properties—deductions . . . . . . . . . . . .                      .   .    .      15e
                                f    Other AMT items (attach statement) . . . . . . . . . . . . . . . .                          .   .    .      15f
 Items Affecting




                              16a    Tax-exempt interest income . . . . . . . . . . . . . . . . . .                              .   .    .      16a
   Shareholder




                                b    Other tax-exempt income . . . . . . . . . . . . . . . . . . .                               .   .    .      16b
      Basis




                                c    Nondeductible expenses . . . . . . . . . . . . . . . . . . .                                .   .    .      16c                    1,417.
                                d    Distributions (attach statement if required) (see instructions) . . . . . . . .             .   .    .      16d
                                e    Repayment of loans from shareholders . . . . . . . . . . . . . . .                          .   .    .      16e
                                                                                                                                                                              11.
   ciliation Information




                              17a    Investment income . . . . . . . . . . . . . . . . . . . . .                                 .   .    .      17a
                Other




                                b    Investment expenses . . . . . . . . . . . . . . . . . . . .                                 .   .    .      17b
                                c    Dividend distributions paid from accumulated earnings and profits . . . . . .               .   .    .      17c
                                d    Other items and amounts (attach statement) ** SEC 199A INFO: SEE STMT                       A
   Recon-




                              18     Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                     column. From the result, subtract the sum of the amounts on lines 11 through 12d and 14p .                  18                  -17,527.
Schedule L                             Balance Sheets per Books                             Beginning of tax year                              End of tax year
                                                    Assets                                (a)                     (b)                    (c)                          (d)
  1                        Cash . . . . . . . . . . . . .                                                        -25,135.                                            -41,305.
  2a                       Trade notes and accounts receivable . . .                    261,496.                                         130,739.
    b                      Less allowance for bad debts . . . . . .               (                   )          261,496. (                            )             130,739.
  3                        Inventories       . . . . . . . . . . .                                                93,320.                                             93,320.
  4                        U.S. government obligations . . . . . .
  5                        Tax-exempt securities (see instructions) . .
  6                        Other current assets (attach statement) Ln  . . 6 . St                              1,432,509.                                         1,007,210.
  7                        Loans to shareholders . . . . . . . .                                                 246,803.                                           246,803.
  8                        Mortgage and real estate loans . . . . .
  9                        Other investments (attach statement) . . .
 10a                       Buildings and other depreciable assets . . .               3,489,887.                                 3,500,130.
    b                      Less accumulated depreciation . . . . .                (   2,263,317. )             1,226,570. (      2,354,044. )                     1,146,086.
 11a                       Depletable assets . . . . . . . . .
    b                      Less accumulated depletion . . . . . .                 (                   )                      (                         )
 12                        Land (net of any amortization) . . . . . .
 13a                       Intangible assets (amortizable only) . . . .
    b                      Less accumulated amortization . . . . .                (                   )                      (                         )
 14                        Other assets (attach statement) . . . . .
 15                        Total assets . . . . . . . . . . .                                                  3,235,563.                                         2,582,853.
                                   Liabilities and Shareholders’ Equity
 16                        Accounts payable . . . . . . . . .                                                     98,210.                                          100,473.
 17                        Mortgages, notes, bonds payable in less than 1 year                                   259,670.                                          173,958.
 18                        Other current liabilities (attach statement)Ln. 18. St                                791,194.                                          821,458.
 19                        Loans from shareholders . . . . . . .                                               1,005,437.                                          264,956.
 20                        Mortgages, notes, bonds payable in 1 year or more                                   2,161,119.                                        2,161,119.
 21                        Other liabilities (attach statement) Ln. 21 . .St.                                                                                      159,900.
 22                        Capital stock . . . . . . . . . . .                                                     1,000.                                            1,000.
 23                        Additional paid-in capital . . . . . . .                                               55,300.                                           55,300.
 24                        Retained earnings . . . . . . . . .                                                -1,136,367.                                       -1,155,311.
 25                        Adjustments to shareholders’ equity (attach statement)
 26                        Less cost of treasury stock . . . . . .                                        (              )                                 (                       )
 27                        Total liabilities and shareholders’ equity      . .                                 3,235,563.                                         2,582,853.
                                                                                       REV 04/14/21 PRO                                                        Form 1120-S (2020)
               Case 21-06416               Doc 1           Filed 05/17/21 Entered 05/17/21 16:47:32                                     Desc Main
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Form 1120-S (2020)                                                                                                                                               Page   5
Schedule M-1            Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books      .   .   .   .         -18,944.            5           Income recorded on books this year
  2       Income included on Schedule K, lines 1, 2,                                             not included on Schedule K, lines 1
          3c, 4, 5a, 6, 7, 8a, 9, and 10, not recorded                                           through 10 (itemize):
          on books this year (itemize)                                                a          Tax-exempt interest $


  3       Expenses recorded on books this year                                       6           Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                    lines 1 through 12 and 14p, not charged
          through 12 and 14p (itemize):                                                          against book income this year (itemize):
      a   Depreciation $                                                              a          Depreciation $

      b   Travel and entertainment $                                                 7           Add lines 5 and 6 . . . . . . .
          OFFICERS LIFE INSURANCE              1,417.              1,417.            8           Income (loss) (Schedule K, line 18).
  4       Add lines 1 through 3    .   .   .   .   .   .         -17,527.                        Subtract line 7 from line 4 . . . .                        -17,527.
Schedule M-2            Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                        Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                        (see instructions)
                                                                       (a) Accumulated               (b) Shareholders’      (c) Accumulated       (d) Other adjustments
                                                                     adjustments account           undistributed taxable   earnings and profits          account
                                                                                                 income previously taxed

  1       Balance at beginning of tax year . . . . .                  -1,136,367.
  2       Ordinary income from page 1, line 21 . . .                      12,339.
  3       Other additions INTEREST
                           . . . . . INCOME. . . . .                          11.
  4       Loss from page 1, line 21 . . . . . . .                (                           )
  5       Other reductions See
                           . . M-2. . Line
                                        . . .5 .Stmt
                                                  . .            (        31,294. )                                                               (                       )
  6       Combine lines 1 through 5 . . . . . . .                     -1,155,311.
  7       Distributions . . . . . . . . . . .
  8       Balance at end of tax year. Subtract line 7 from
          line 6 . . . . . . . . . . . . .                            -1,155,311.
                                                                          REV 04/14/21 PRO                                                            Form 1120-S (2020)
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                             OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
MORRIS MAILING INC                                                                                                                                   XX-XXXXXXX
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1                93,320
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2               219,521
   3       Cost of labor . . . . . . . . . . . . . . . . .                                     .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) . . . . . . .                       .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . See    . . Statement
                                                             . . . . . .                       .   .   .   .   .   .   .   .     .           5                        44,350
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                       357,191
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7                        93,320
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                       263,871
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .           Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             Yes       No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                       REV 04/14/21 PRO         Form 1125-A (Rev. 11-2018)
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                                                                 Document     Page 22 of 33
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Corporation's name:        MORRIS MAILING INC                                                                         Corporation's EIN:   XX-XXXXXXX
Shareholder's name:      MICHAEL M MORRIS                                                      Shareholder's identifying no:


                                                                                               1120S, Line 21

                                                                                                                                       
                                                                                                 ½½È»½·Ê»º             ½½È»½·Ê»º           ½½È»½·Ê»º
                                                                                                                                     
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
                    Èº¿Ä·ÈÏ ¸ËÉ¿Ä»ÉÉ ¿Ä¹ÅÃ» ƺÂÅÉÉƻ         Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ                 12,339.
                    »ÄÊ·Â ¿Ä¹ÅÃ» ƺÂÅÉÉƻ       Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    ÅÏ·ÂÊÏ ¿Ä¹ÅÃ» ƺÂÅÉÉƻ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    »¹Ê¿ÅÄ ʸʹʺʸ ½·¿Ä ƺÂÅÉÉƻ       Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    Ê¾»È ¿Ä¹ÅÃ» ƺÂÅÉÉƻ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    »¹Ê¿ÅÄ ʸʾˀ º»ºË¹Ê¿ÅÄ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ                  29,877.
                    Ê¾»È º»ºË¹Ê¿ÅÄÉ       Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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   Å¼ ÇË·Â¿¼¿»º ÆÈÅÆ»ÈÊÏ      Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ         1,622,559.
 »¹Ê¿ÅÄ ʸˀˀ º¿Ì¿º»ÄºÉ Ɣ      Ɣ Ɣ Ɣ Ɣ




Ê·Ê»Ã»ÄÊ Ƴ ·ÉÉƖÊ¾ÈÅË½¾ ÄÊ¿ÊÏ »ÆÅÈÊ¿Ä½

Corporation's name:                                                                                                   Corporation's EIN:
Shareholder's name:                                                                            Shareholder's identifying no:




                                                                                                                                       
                                                                                                 ½½È»½·Ê»º             ½½È»½·Ê»º           ½½È»½·Ê»º
                                                                                                                                     
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
                    Èº¿Ä·ÈÏ ¸ËÉ¿Ä»ÉÉ ¿Ä¹ÅÃ» ƺÂÅÉÉƻ         Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    »ÄÊ·Â ¿Ä¹ÅÃ» ƺÂÅÉÉƻ       Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

                    ÅÏ·ÂÊÏ ¿Ä¹ÅÃ» ƺÂÅÉÉƻ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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                    Ê¾»È ¿Ä¹ÅÃ» ƺÂÅÉÉƻ        Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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                    Ê¾»È º»ºË¹Ê¿ÅÄÉ       Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

 Ɩʹ Í·½»É Ɣ   Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

   Å¼ ÇË·Â¿¼¿»º ÆÈÅÆ»ÈÊÏ      Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ Ɣ

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Form   1125-E                                               Compensation of Officers
(Rev. October 2016)                                                                                                                                      OMB No. 1545-0123
                                            a
                                          Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
                              a Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Internal Revenue Service
Name                                                                                                                                           Employer identification number
MORRIS MAILING INC                                                                                                                             XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                (b) Social security number         (c) Percent of        Percent of stock owned             (f) Amount of
                      (a) Name of officer                                                        time devoted to
                                                                     (see instructions)               business       (d) Common        (e) Preferred        compensation



   1 MICHAEL M MORRIS                                                                                    100 %                100 %                %             17,538.

                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


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                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


                                                                                                                 %                 %               %


                                                                                                                 %                 %               %

   2     Total compensation of officers .          .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .    .    .   .   .   .      2               17,538.

   3     Compensation of officers claimed on Form 1125-A or elsewhere on return                              .   .   .    .    .   .   .   .      3

   4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . .                                                          4               17,538.
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                             REV 04/14/21 PRO    Form 1125-E (Rev. 10-2016)
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                                                           Depreciation and Amortization
Form   4562                                                 (Including Information on Listed Property)
                                                                                                                                                         OMB No. 1545-0172


                                                                                                                                                          2020
                                                                            a Attach
                                                                            to your tax return.
Department of the Treasury                                                                                                                               Attachment
Internal Revenue Service (99)
                                           a Go    to www.irs.gov/Form4562 for instructions and the latest information.                                  Sequence No. 179
Name(s) shown on return                                                     Business or activity to which this form relates                         Identifying number
MORRIS MAILING INC                              Form 1120S PRINTING SERVICES                                                                        XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179
        Note: If you have any listed property, complete Part V before you complete Part I.
   1       Maximum amount (see instructions) . . . . . . . . . . . . . . . . . .                                                . . .      . .       1      1,040,000.
   2       Total cost of section 179 property placed in service (see instructions)       . . . . . .                            . . .      . .       2         10,243.
   3       Threshold cost of section 179 property before reduction in limitation (see instructions) .                           . . .      . .       3      2,590,000.
   4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . .                           . . .      . .       4              0.
   5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If                           married   filing
           separately, see instructions . . . . . . . . . . . . . . . . . . . .                                                 . . .      . .       5      1,040,000.
   6                       (a) Description of property                                (b) Cost (business use only)             (c) Elected cost
BCC SOFTWARE                                                                                             4,500.                               4,500.
See Additional Section 179 Property Statement                                                                                                 5,743.
  7 Listed property. Enter the amount from line 29 . . . . . . . . .                   7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7           . . . . . .        8  10,243.
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                        9  10,243.
 10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 . . . . . . . . . . .                       10 43,871.
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions 11 29,877.
 12 Section 179 expense deduction. Add lines 9 and 10, but don’t enter more than line 11 . . . . . .                  12 29,877.
 13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12 a              13           24,237.
Note: Don’t use Part II or Part III below for listed property. Instead, use Part V.
 Part II Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
    during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . .                               14      0.
 15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . .                            15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . .                                   16
Part III MACRS Depreciation (Don’t include listed property. See instructions.)
                                                                  Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2020 . . . . . . .                    17 60,850.
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . a
              Section B—Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                   (b) Month and year    (c) Basis for depreciation
  (a) Classification of property        placed in         (business/investment use    (d) Recovery     (e) Convention            (f) Method         (g) Depreciation deduction
                                         service           only—see instructions)         period

 19a        3-year property
   b        5-year property
   c        7-year property
   d       10-year property
   e       15-year property
   f       20-year property
   g       25-year property                                     25 yrs.                         S/L
   h       Residential rental                                  27.5 yrs.      MM                S/L
           property                                            27.5 yrs.      MM                S/L
       i   Nonresidential real                                  39 yrs.       MM                S/L
           property                                                           MM                S/L
                   Section C—Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
 20a       Class life                                                                           S/L
   b       12-year                                              12 yrs.                         S/L
   c       30-year                                              30 yrs.       MM                S/L
   d       40-year                                              40 yrs.       MM                S/L
Part IV         Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                              21                     0.
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                            22           60,850.
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs . . . . . . . . .          23
For Paperwork Reduction Act Notice, see separate instructions.                                                       REV 04/14/21 PRO                       Form 4562 (2020)
                                                                                      BAA
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Form 4562 (2020)                                                                                             Page 2
 Part V      Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
             entertainment, recreation, or amusement.)
           Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
           24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
       Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24a Do you have evidence to support the business/investment use claimed? Yes  No     24b If “Yes,” is the evidence written? Yes No
                                          (c)                                       (e)
          (a)                (b)                                                                      (f)             (g)                   (h)                       (i)
                                       Business/           (d)            Basis for depreciation
 Type of property (list Date placed                                                                Recovery         Method/             Depreciation         Elected section 179
                                    investment use Cost or other basis    (business/investment
    vehicles first)      in service                                                                 period         Convention            deduction                  cost
                                      percentage                                 use only)
 25 Special depreciation allowance for qualified listed property placed in service during
    the tax year and used more than 50% in a qualified business use. See instructions .              25
 26 Property used more than 50% in a qualified business use:
1997 CHEVY SUBURBAN 08/12/1997 100.00 %           39,817.              39,817.         5.00 200 DB-HY                      0.
1996 FREIGHTLINER 04/02/1997 100.00 %             40,000.              40,000.         5.00 200 DB-HY                      0.
                                        %
 27 Property used 50% or less in a qualified business use:
                                        %                                                    S/L –
                                        %                                                    S/L –
                                        %                                                    S/L –
 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 .              28                    0.
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . . . .                          29
                                                Section B—Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other “more than 5% owner,” or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                      (a)               (b)              (c)                   (d)                 (e)                  (f)
 30 Total business/investment miles driven during                  Vehicle 1         Vehicle 2        Vehicle 3             Vehicle 4           Vehicle 5            Vehicle 6
    the year (don’t include commuting miles) .
 31 Total commuting miles driven during the year
 32 Total other personal (noncommuting)
    miles driven    . . . . . . . . .
 33 Total miles driven during the year. Add
    lines 30 through 32 . . . . . . .
 34 Was the vehicle available for personal                    Yes         No      Yes       No       Yes       No       Yes         No       Yes         No       Yes       No
    use during off-duty hours? . . . . .
 35 Was the vehicle used primarily by a more
    than 5% owner or related person? . .
 36 Is another vehicle available for personal use?
                      Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren’t
more than 5% owners or related persons. See instructions.
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by  Yes    No
    your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
    employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . .
 39 Do you treat all use of vehicles by employees as personal use?     . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the
    use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . .
 41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions. . . . .
    Note: If your answer to 37, 38, 39, 40, or 41 is “Yes,” don’t complete Section B for the covered vehicles.
Part VI      Amortization
                                                                                                                                     (e)
                                                      (b)
                     (a)                                                           (c)                      (d)                  Amortization                     (f)
                                               Date amortization
            Description of costs                                           Amortizable amount           Code section              period or            Amortization for this year
                                                    begins
                                                                                                                                 percentage
 42 Amortization of costs that begins during your 2020 tax year (see instructions):



 43 Amortization of costs that began before your 2020 tax year . . . . . .                                 .   .    .   .   .   .   .        43
 44 Total. Add amounts in column (f). See the instructions for where to report .                           .   .    .   .   .   .   .        44
                                                                                  REV 04/14/21 PRO                                                             Form 4562 (2020)
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                                                                                                                                                          OMB No. 1545-0123
Form   8879-S                      IRS e-file Signature Authorization for Form 1120-S
                                                   a   ERO must obtain and retain completed Form 8879-S.

Department of the Treasury
                                                 a Go   to www.irs.gov/Form8879S for the latest information.                                                 2020
Internal Revenue Service   For calendar year 2020, or tax year beginning                      , 2020, and ending                        , 20         .
Name of corporation                                                                                                        Employer identification number
MORRIS MAILING INC                                                                                                         XX-XXXXXXX
 Part I Tax Return Information (Whole dollars only)
  1      Gross receipts or sales less returns and allowances (Form 1120-S, line 1c)                      .   .     .   .    .   .   .     .     .        1     1,546,816.
  2      Gross profit (Form 1120-S, line 3) . . . . . . . . . . . . . .                                  .   .     .   .    .   .   .     .     .        2     1,282,945.
  3      Ordinary business income (loss) (Form 1120-S, line 21) . . . . . . .                            .   .     .   .    .   .   .     .     .        3        12,339.
  4      Net rental real estate income (loss) (Form 1120-S, Schedule K, line 2) . .                      .   .     .   .    .   .   .     .     .        4
  5      Income (loss) reconciliation (Form 1120-S, Schedule K, line 18) . . . .                         .   .     .
                                                                                                             -17,527.  .    .   .   .     .     .        5
 Part II      Declaration and Signature Authorization of Officer (Be sure to get a copy of the corporation’s return)

Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2020 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true,
correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.



Officer’s PIN: check one box only

             I authorize KENNETH J. SCOTT CPA LTD                                                  to enter my PIN              6 0 0 8 4                    as my signature
                                                       ERO firm name                                                            Don’t enter all zeros
             on the corporation’s 2020 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2020 electronically filed income tax
             return.

Officer’s signature a                                                                         Date a                            Title a PRESIDENT

Part III      Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                                     3 6 5 0 4 5 3 6 5 0 4
                                                                                                                                               Don’t enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2020 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.


ERO’s signature a                                                                                                  Date a       04/28/2021



                                            ERO Must Retain This Form — See Instructions
                                     Don’t Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                                                                                        Form 8879-S (2020)
BAA                                                                        REV 04/14/21 PRO
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  Form 1120S                        199A Statement A Summary                                  2020

QuickZoom to Other Copy                                                                    Page 1

 Corporation’s Name: MORRIS MAILING INC                       Corporation’s EIN: XX-XXXXXXX



                                    1120S, Line 21
                                        PTP                      PTP                 PTP
                                        Aggregated               Aggregated          Aggregated
                                        SSTB                     SSTB                SSTB

 Shareholder’s share of:
 QBI or qualified PTP items subject to shareholder-specific determinations:

  Ordinary business inc (loss)               12,339.
  Rental income (loss)
  Royalty income (loss)
  Section 1231 gain (loss)
  Other income (loss)
  Section 179 deduction                      29,877.
  Other deductions
 W-2 wages                                 862,619.
 UBIA of qualified property              1,622,559.

 Section 199A dividends
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 Corporation’s Name:                                          Corporation’s EIN:




                                        PTP                      PTP               PTP
                                        Aggregated               Aggregated        Aggregated
                                        SSTB                     SSTB              SSTB

 Shareholder’s share of:
 QBI or qualified PTP items subject to shareholder-specific determinations:

  Ordinary business inc (loss)
  Rental income (loss)
  Royalty income (loss)
  Section 1231 gain (loss)
  Other income (loss)
  Section 179 deduction
  Other deductions
 W-2 wages
 UBIA of qualified property

 Section 199A dividends

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   Form 1120S                             Other Assets                           2020
   Schedule L

Name                                                                        Employer ID Number
MORRIS MAILING INC                                                          XX-XXXXXXX


                                                             Beginning of        End of
 Other Current Assets:                                         tax year         tax year

 NOTE RECEIVABLE - CLOVER INVESTMENT CORPORATION                822,286.         593,634.
 NOTE RECEIVALBE - MORRIS MAGNETICS INC                         196,647.               0.
 NOTE RECEIVABLE - INDIVIDUALS                                    3,600.           3,600.
 NOTE RECEIVABLE - CARY PROPERTY                                401,085.         401,085.
 ESCROW BALANCE - BYLINE BANK                                     8,891.           8,891.




 Total to Form 1120S, Schedule L, line 6                     1,432,509.       1,007,210.

                                                             Beginning of        End of
 Other Investments:                                            tax year         tax year




 Total to Form 1120S, Schedule L, line 9

                                                             Beginning of        End of
 Other Assets:                                                 tax year         tax year




 Total to Form 1120S, Schedule L, line 14
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   Form 1120S                            Other Liabilities                           2020
   Schedule L                 and Adjustments to Shareholders’ Equity

Name                                                                            Employer ID Number
MORRIS MAILING INC                                                              XX-XXXXXXX


                                                                 Beginning of        End of
 Other Current Liabilities:                                        tax year         tax year

 POSTAGE DEPOSIT                                                    187,600.          57,363.
 PAYROLL TAX LIABILITIES                                            368,573.         377,879.
 DUE TO PIZZA                                                       235,021.         179,303.
 PPP LOAN PAYABLE                                                                    201,413.
 DUE TO CLOVER INVESTMENTS                                                             5,500.




 Total to Form 1120S, Schedule L, line 18                           791,194.         821,458.

                                                                 Beginning of        End of
 Other Liabilities:                                                tax year         tax year

 EIDL PAYABLE                                                                        159,900.




 Total to Form 1120S, Schedule L, line 21                                            159,900.

                                                                 Beginning of        End of
 Adjustments to Shareholders’ Equity:                              tax year         tax year




 Total to Form 1120S, Schedule L, line 25
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                                   199A Worksheet by Activity                                        2020
                                           G Keep for your records

Corporation’s name                                                                     Corporation’s EIN
MORRIS MAILING INC                                                                     XX-XXXXXXX

   QuickZoom to 199A Summary

                                  Trade or Business: 1120S, Line 21
   Aggregation Code:                            EIN: XX-XXXXXXX

                                  Is this activity a qualified trade/business?                X Yes           No
                                  Specified Service Trade or Business?                            Yes       X No

QBI or qualified PTP items subject to shareholder-specific determinations:

 1a    Ordinary business income (loss)                             1a             12,339.
   b   Adjustments                                                  b
   c   Adjusted ordinary business income (loss)                                             1c             12,339.
 2a    Rental income (loss)                                        2a
   b   Adjustments                                                  b
   c   Adjusted rental income (loss)                                                        2c
 3a    Royalty income (loss)                                       3a
   b   Adjustments                                                  b
   c   Adjusted royalty income (loss)                                                       3c
 4a    Section 1231 gain (loss)                                    4a
   b   Adjustments                                                  b
   c   Adjusted section 1231 gain (loss)                                                    4c
 5     Other income (loss)                                                                  5
 6a    Section 179 deduction                                       6a             29,877.
   b   Adjustments                                                  b
   c   Adjusted section 179 deduction                                                       6c             29,877.
 7     Other deductions                                                                     7
 8a    W-2 wages                                                   8a            862,619.
   b   Adjustments                                                  b
   c   Adjusted W-2 Wages                                                                   8c          862,619.
 9a    UBIA of qualified property                                  9a      1,622,559.
   b   Adjustments                                                  b
   c   Adjusted UBIA of qualified property                                                  9c     1,622,559.
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                                    Section 179 Carryover Detail for this Activity


                                                                          Section 179    Section 179
                                                                          Regular Tax       QBI

    Tentative Section 179 deduction from current year assets                   10,243.       10,243.
                     Part I: Prior Year Carryovers
                         by Year and Category
  A Before 2018                                                                                   0.
  B 2018                                                                                          0.
  C 2019                                                                       43,871.       43,871.
    Total prior year carryovers to this year                                   43,871.       43,871.



                          Part II: 179 Deduction Allowed                  Section 179    Section 179
                              by Year and Category                        Regular Tax       QBI

 Total 179 deduction allowed for this activity in current year                 29,877.       29,877.
  A Amount allowed from 2020                                                   10,243.       10,243.
  B Amount allowed from before 2018                                                 0.
  C Amount allowed from 2018                                                        0.
  D Amount allowed from 2019                                                   19,634.       19,634.



                        Part III: Total Carryforward to 2021              Section 179    Section 179
                                by Year and Category                      Regular Tax       QBI



  A    Carryforward from 2020                                                       0.             0.
  B    Carryforward from before 2018                                                0.
  C    Carryforward from 2018                                                       0.            0.
  D    Carryforward from 2019                                                  24,237.       24,237.
       Total carryforward to next year                                         24,237.       24,237.


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MORRIS MAILING INC                                                         XX-XXXXXXX                 1



Additional information from your 2020 US Form 1120S: Income Tax Return for S Corp

Form 1120S: S-Corporation Tax Return
Other Income                                                                Continuation Statement
                         Description                                       Amount
MISCELLANEOUS INCOME / REIMBURSEMENT                                                          28,404.
                                                     Total                                    28,404.

Form 1120S: S-Corporation Tax Return
Other Deductions                                                            Continuation Statement
                         Description                                       Amount
BANK CHARGES                                                                                   2,065.
INSURANCE                                                                                     89,472.
LEGAL AND PROFESSIONAL                                                                        23,332.
OFFICE EXPENSE                                                                                 5,605.
SUPPLIES                                                                                       8,968.
TELEPHONE                                                                                      5,178.
UTILITIES                                                                                     42,163.
                                                     Total                                 176,783.

Form 1120S: S-Corporation Tax Return
M-2 Line 5, Other Reductions                                                Continuation Statement
                         Description                           AAA Amount           OAA Amount
SECTION 179 EXPENSE                                                    29,877.
OFFICERS LIFE INSURANCE                                                 1,417.
                                                     Total             31,294.

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                       Continuation Statement
                                   Other Cost                                       Other Amount
OUTSIDE SERVICES                                                                               36,428
TRUCKING                                                                                        7,922
                                                                          Total                44,350

Form 4562 (Form 1120S PRINTING SERVICES): Depreciation and Amortization
Line 6 Additional Section 179 Property Statement                        Continuation Statement
                                                             (b) Cost (bus use
                 (a) Description of Property                                       (c) Elected Cost
                                                                   only)
MACHINERY & EQUIPMENT - UNIPAC EQUIPMENT                                3,077.                3,077.
MACHINERY & EQUIPMENT - CLUTCH                                          2,666.                2,666.
                                                                          Total               5,743.
